              IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                      No. 12-cv-1349
                        Plaintiff;
         v.                                           UNITED STATES’ MOTION TO SEAL
 Terry S. Johnson, in his official capacity as
 Alamance County Sheriff,
                        Defendant.



                        UNITED STATES’ MOTION TO SEAL
       On April 23, 2013, this Court entered the Parties’ Joint Confidentiality and
Protective Order, ECF 18 (“Confidentiality Order”). Pursuant to that Order, the United
States now moves this Court to file under seal two exhibits in support of its Response in
Opposition to Defendant’s Motion to Compel, and to accept the filing of a redacted
version of the United States’ Opposition to Defendant’s Motion to Compel.
       The documents, Exhibit B and D, are, respectively, the United States’ Initial
Disclosures and the United States’ Response to Defendant’s First Set of Interrogatories.
Pursuant to the Confidentiality Order, the United States marked Exhibit D “confidential”
at the time that it provided the Response to Defendant. The United States submitted
Exhibit B, its Initial Disclosures, to Defendant on March 7, 2013, prior to negotiating the
Confidentiality Order with Defendant. These disclosures contain personally identifiable
information. As such, the United States now designates its Initial Disclosures as
confidential, pursuant to the Confidentiality Order, ¶ 3(b).
        In addition, the United States asks the Court to accept the filing of a redacted
version of the United States’ Opposition to Defendant’s Motion to Compel because the
Opposition cites the deposition transcript of an ACSO officer that has been designated
confidential pursuant to the Confidentiality Order.




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       According to the procedures contained in the Confidentiality Order, see id. at ¶8,
the United States respectfully requests that this Court file Exhibits B and D under seal.


       Respectfully submitted,


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       Special Litigation Section

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                            CERTIFICATE OF SERVICE

       I certify that the foregoing United States’ Motion To Seal was served through the
electronic filing service on July 1, 2013, to the following individual:

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                                                s/ Michael J. Songer
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